Case 21-05127-lrc   Doc 8   Filed 04/04/22 Entered 04/04/22 14:48:11    Desc Main
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 IT IS ORDERED as set forth below:



 Date: April 4, 2022
                                                _____________________________________
                                                           Lisa Ritchey Craig
                                                      U.S. Bankruptcy Court Judge

 _______________________________________________________________




                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

IN THE MATTER OF:                          :      CASE NUMBERS
                                           :
CYNTHIA ANDERSON-GRAYSON,                  :      BANKRUPTCY CASE
    Debtor.                                :      20-62169-LRC
                                           :
                                           :
S. GREGORY HAYS AS                         :
CHAPTER 7 TRUSTEE,                         :      ADVERSARY PROCEEDING
     Plaintiff,                            :      NO. 21-05127-LRC
                                           :
     v.                                    :
                                           :
MICHAEL L. GRAYSON,                        :      IN PROCEEDINGS UNDER
Defendant.                                 :      CHAPTER 7 OF THE
                                           :      BANKRUPTCY CODE

                                    ORDER

     Before the Court is Defendant’s Second Motion for Extension of Time to Respond

to Adversary Complaint (Doc. 7) (the “Second Motion”).       The Motion arises in
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 connection with a complaint (the “Complaint,” Doc. 1) filed by the Chapter 7 Trustee (the

 “Trustee”) on December 15, 2021. The Clerk issued a summons for the Complaint on

 December 16, 2021, giving Defendant until January 18, 2022, to respond. On January 14,

 2022, Defendant filed a Motion for Extension of Time to Respond (Doc. 4) (the “First

 Motion”). In the First Motion, Defendant, acting pro se, asked the Court for an extension

 of time to find legal counsel. The Court granted the First Motion on February 1, 2022

 (Doc. 5) (the “Order”), giving Defendant an additional thirty days to answer the

 Complaint. Now, in his Second Motion, Defendant again asks the Court for an extension

 of time to find legal counsel.

        Federal Rule of Bankruptcy Procedure 9006(b)(1) provides, in part, that “for cause

 shown” the Court may grant an extension of time at its discretion “if the request … is made

 before the expiration of the period originally prescribed or as extended by a previous order.”

 Defendant filed his Motion before the extended time to respond provided by the Order

 expired, and the Court finds that another extension of time for Defendant to secure legal

 counsel is warranted. Therefore, for good cause shown,

        IT IS HEREBY ORDERED that the Second Motion is GRANTED. Debtor shall

 have thirty (30) days from the entry of this order to respond to the Complaint.

                                   END OF DOCUMENT

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